Case 22-11068-JTD   Doc 24023-3     Filed 08/29/24   Page 1 of 4




                        Exhibit B

                      Disbursements
                                    Case 22-11068-JTD        Doc 24023-3       Filed 08/29/24     Page 2 of 4



Cost Type                        Work Date Quantity Rate    Amount Narrative
Outside record production          6/1/2024    1.00    1.50     1.50 COURTHOUSE NEWS SERVICE - Outside record production
                                                                     U.S. Courts: PACER - Legal Research Charges from [insert date range] -
PACER Services                     7/1/2024    1.00    0.00     0.00
                                                                     Account # [insert account]
                                                                     U.S. Courts: PACER - Legal Research Charges from [insert date range] -
PACER Services                     7/1/2024    1.00    0.00     0.00
                                                                     Account # [insert account]
Document Services                  7/1/2024    1.00 113.75    113.75 Array - Delivery/J Pozo/NY24070008
Lexis Courtlink - Off Contract     7/2/2024    1.00    0.77     0.77 COURTLINK ALERT
Lexis Courtlink - Off Contract     7/6/2024    1.00    0.77     0.77 COURTLINK ALERT
Lexis Courtlink - Off Contract     7/8/2024    1.00    0.77     0.77 COURTLINK ALERT
Lexis Courtlink - Off Contract     7/9/2024    1.00    0.77     0.77 COURTLINK ALERT
Document Reproduction             7/10/2024   15.00    0.10     1.50 Document Reproduction
Lexis Courtlink - Off Contract    7/11/2024    1.00    0.76     0.76 COURTLINK ALERT
                                                                          COURTHOUSE NEWS SERVICE - Outside record production/ #11807-
Outside record production          7/17/2024      1.00    1.50     1.50
                                                                          00001/ Courthouse News Download & Tracking Costs - 5/01/24 - 5/31/24
Lexis Courtlink - Off Contract     7/21/2024      1.00    0.76     0.76 COURTLINK ALERT
Other                              7/23/2024      1.00    3.20     3.20 Miscellaneous - Jason Sternberg - Pacer Fees 07/23/24
Lexis Courtlink - Off Contract     7/24/2024      1.00    0.76     0.76 COURTLINK ALERT
Word processing                    7/25/2024      2.90    0.00     0.00 Word processing
Document Reproduction              7/29/2024     63.00    0.10     6.30 Document Reproduction
Document Reproduction              7/29/2024     63.00    0.10     6.30 Document Reproduction
Document Reproduction              7/30/2024      1.00    0.10     0.10 Document Reproduction
Color Document Reproduction        7/30/2024      9.00    0.25     2.25 Color Document Reproduction
Color Document Reproduction        7/30/2024     11.00    0.25     2.75 Color Document Reproduction
Color Document Reproduction        7/30/2024     14.00    0.25     3.50 Color Document Reproduction
Color Document Reproduction        7/30/2024     36.00    0.25     9.00 Color Document Reproduction
Color Document Reproduction        7/30/2024      8.00    0.25     2.00 Color Document Reproduction
Online Research - Off Contract     7/31/2024      1.00    0.00     0.00 Online Research - Off Contract

Online Research - Off Contract     7/31/2024      1.00    0.00     0.00 Online Research - Off Contract

Online Research - Off Contract     7/31/2024      1.00    0.00     0.00 Online Research - Off Contract
Online Research - Tax              7/31/2024      1.00    0.00     0.00 Online Research - Tax
Online Research                    7/31/2024      1.00    0.00     0.00 Online Research
Online Research                    7/31/2024      1.00    0.00     0.00 Online Research
                        Case 22-11068-JTD     Doc 24023-3    Filed 08/29/24     Page 3 of 4



Online Research         7/31/2024    1.00   0.00   0.00 Online Research
Document Reproduction   7/31/2024   52.00   0.10   5.20 Document Reproduction
Document Reproduction   7/31/2024   28.00   0.10   2.80 Document Reproduction
                Case 22-11068-JTD        Doc 24023-3   Filed 08/29/24   Page 4 of 4




Cost Type                        Sum of Amount Sum of Quantity
Color Document Reproduction               $19.50         78.00
Document Reproduction                     $22.20        222.00
Document Services                        $113.75          1.00
Lexis Courtlink - Off Contract             $5.36          7.00
Online Research                            $0.00          3.00
Online Research - Off Contract             $0.00          3.00
Online Research - Tax                      $0.00          1.00
Other                                      $3.20          1.00
Outside record production                  $3.00          2.00
PACER Services                             $0.00          2.00
Word processing                            $0.00          2.90
Grand Total                              $167.01        322.90
